
957 A.2d 610 (2008)
406 Md. 165
In re Petition for REINSTATEMENT OF Kyriakos P. MARUDAS.
Misc. Docket AG No. 23, September Term, 2008.
Court of Appeals of Maryland.
October 3, 2008.

ORDER
This matter came before this Court on the Petition for Reinstatement of Kyriakos P. Marudas to be reinstated to the Bar of Maryland.
The Court having considered the Petition for Reinstatement and the Response of Bar Counsel, it is this 3rd day of October, 2008
*611 ORDERED, that the Petition for Reinstatement be and the same is hereby GRANTED. It is further
ORDERED, that the Clerk of this Court shall replace the name of Kyriakos P. Marudas on the registry of attorneys in this Court and certify that fact to the Trustees of the Client Protection Fund of the Bar of Maryland and to the Clerks of all judicial tribunals in this State.
